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                       8                       UNITED STATES DISTRICT COURT

                       9                       EASTERN DISTRICT OF CALIFORNIA

                      10

                      11 UNITED STATES OF AMERICA,
                                                               CR S-05-309 GEB
                      12              Plaintiff,
                                                               STIPULATION AND [PROPOSED]
                      13        v.                             ORDER TO CONTINUE SENTENCING

                      14 SHANNON LEA SELLE et al,              Date: May 2, 2008
                                                               Time: 9:00 a.m.
                      15              Defendant.               Court: Judge Burrell
                                                        /
                      16

                      17        The parties, plaintiff United States of America, and

                      18 defendants Daren Wallace Glosser and Shannon Lea Selle, through

                      19 their respective attorneys, hereby stipulate and agree that the

                      20 judgment and sentencing hearing in the above-entitled matter,

                      21 presently scheduled for May 2, 2008, shall be continued to June

                      22 13, 2008, at 9:00 a.m.

                      23        This continuance is based on the scheduling of Ms. Selle’s

                      24 Pre-sentence interview.       Due to scheduling difficulties of

                      25 counsel for Selle and the assigned probation officer, March 25,

                      26 2008, is the earliest date available.          The parties therefore

                      27 jointly agree to a continuance of Ms. Selle’s sentencing to
LAW OFFICES
506 BROADWAY 28            allow the probation officer time after the interview to prepare
SAN FRANCISCO
  (415) 986-5591
Fax: (415) 421-1331                                            1
                           Case 2:05-cr-00309-GEB Document 172 Filed 03/24/08 Page 2 of 2


                       1 a draft presentence investigation report for the parties review

                       2 and comment.

                       3        Assistant United States Attorney Samuel Wong will be

                       4 unavailable for a substantial portion of the summer.               Mr. Wong

                       5 has indicated that his stipulation to this continuance is based

                       6 on the understanding that this will be the only continuance of

                       7 the sentencing in this matter.

                       8        For the foregoing reasons, the parties respectfully request

                       9 that the matter be continued from May 2, 2008 to June 13, 2008,

                      10 at 9:00 a.m.

                      11 Dated: March 20, 2008                  /s/ RANDOLPH E. DAAR
                                                              RANDOLPH E. DAAR
                      12                                      Attorney for SHANNON SELLE

                      13
                                                              LAW OFFICES OF WILLIAM OSTERHOUDT
                      14                                      LAW OFFICES OF ANN C. MOORMAN

                      15 Dated: March 20, 2008         By     /s/ WILLIAM L. OSTERHOUDT
                                                              WILLIAM L. OSTERHOUDT
                      16                                      Attorney for Daren Glosser

                      17                                      MCGREGOR W. SCOTT
                                                              UNITED STATES ATTORNEY
                      18
                           Dated: March 20, 2008       By     /s/_SAMUEL WONG___________
                      19                                      SAMUEL WONG
                                                              Assistant U.S. Attorney
                      20

                      21                                      ORDER

                      22        Pursuant to stipulation of the parties, and good cause

                      23 appearing, the Court hereby adopts the parties' stipulation in

                      24 its entirety as the Court's order.

                      25
                           Dated:   March 24, 2008
                      26

                      27
                                                            GARLAND E. BURRELL, JR.
LAW OFFICES
                                                            United States District Judge
506 BROADWAY 28
SAN FRANCISCO
  (415) 986-5591
Fax: (415) 421-1331                                             2
